Case 3:05-cr-00020-RV   Document 69   Filed 07/21/05   Page 1 of 7
Case 3:05-cr-00020-RV   Document 69   Filed 07/21/05   Page 2 of 7
Case 3:05-cr-00020-RV   Document 69   Filed 07/21/05   Page 3 of 7
Case 3:05-cr-00020-RV   Document 69   Filed 07/21/05   Page 4 of 7
Case 3:05-cr-00020-RV   Document 69   Filed 07/21/05   Page 5 of 7
Case 3:05-cr-00020-RV   Document 69   Filed 07/21/05   Page 6 of 7
Case 3:05-cr-00020-RV   Document 69   Filed 07/21/05   Page 7 of 7
